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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF WEST VIRGINIA

 THE CITY OF HUNTINGTON,
                           Plaintiff,
 v.                                                   Civil Action No. 3:17-01362
 AMERISOURCEBERGEN DRUG                               Hon. David A. Faber
 CORPORATION, et al.,
                           Defendants.

 CABELL COUNTY COMMISSION,
                            Plaintiff,
 v.                                                   Civil Action No. 3:17-01665
 AMERISOURCEBERGEN DRUG                               Hon David A. Faber
 CORPORATION, et al.,
                            Defendants.


                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT:
                          STATUTE OF LIMITATIONS

       Defendants AmerisourceBergen Drug Corporation, McKesson Corporation, and Cardinal

Health, Inc., by counsel, move pursuant to Federal Rule of Civil Procedure 56(a) for summary

judgment on the nuisance claims alleged by Plaintiffs The City of Huntington and Cabell County

Commission. The evidence before the Court discloses that there is no genuine dispute as to any

material fact bearing on this motion, in that Plaintiffs’ claims accrued more than one year prior to

the filing of their respective actions. Because neither the continuing tort doctrine nor the fraudulent

concealment doctrine may be applied to render timely Plaintiffs’ dilatory filings, Defendants are

entitled to judgment as a matter of law.

       WHEREFORE, Defendants respectfully request that the Court: (i) grant this motion; (2)

issue a conforming Order directing the entry of summary judgment to Defendants on all of

Plaintiffs’ claims; and (3) accord Defendants such other and further relief as may be deemed just.


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Dated: March 20, 2020                            Respectfully submitted,

                                                 CARDINAL HEALTH, INC.

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                                CERTIFICATE OF SERVICE

       I, Steven R. Ruby, counsel for Defendant Cardinal Health, do hereby certify that service

of the foregoing DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT: STATUTE

OF LIMITATIONS was filed electronically via the CM/ECF electronic filing system and

served on all counsel registered in the system.

       Dated: March 20, 2020

                                                      /s/ Steven R. Ruby
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